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11
     Attorneys for Plaintiff
12   UNITED STATES OF AMERICA
13                            UNITED STATES DISTRICT COURT
14                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
15   UNITED STATES OF AMERICA,                     No. 2:21-cr-00491-SB
16               Plaintiff,                        GOVERNMENT’S REVISED EXHIBIT
                                                   LIST
17                      v.
                                                   Indictment: 10/19/21
18   JEFFREY FORTENBERRY,                          Trial Date: 3/16/22 at 8:30 a.m.
19               Defendant.
20
21         Plaintiff United States of America, by and through its counsel of record, the
22   United States Attorney for the Central District of California and Assistant United States
23   Attorneys Mack E. Jenkins, Susan S. Har, and J. Jamari Buxton, hereby files the
24   government’s revised exhibit list.
25   //
26   //
27   //
28
     Case 2:21-cr-00491-SB Document 158 Filed 03/15/22 Page 2 of 27 Page ID #:2299




 1         The government respectfully requests leave of the Court to supplement or modify
 2   this exhibit list, including adding or removing certain exhibits, as may be appropriate.
 3
 4    Dated: March 15, 2022                    Respectfully submitted,
 5                                             TRACY L. WILKISON
                                               United States Attorney
 6
                                               SCOTT M. GARRINGER
 7                                             Assistant United States Attorney
                                               Chief, Criminal Division
 8
 9                                                 /s/
                                               SUSAN S. HAR
10                                             MACK E. JENKINS
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11                                             Assistant United States Attorneys
12                                             Attorneys for Plaintiff
                                               UNITED STATES OF AMERICA
13
14
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                                                  2
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 1
      EXHIBIT                DESCRIPTION                   IDENT         IN EVID.
 2
                                 FEC Filings and Records
 3
          1      Section 110.4 - Contributions in the
 4
                 Name of Another; Cash Contributions
 5
                 [JF_13926]
 6
          2      Section 110.20 – Prohibition on
 7               Contributions
 8
                 [JF_13927-13929]
 9               FEC.gov – Archive of Contribution
          3
10               Limits

11               [JF_13930-13932]
12        4      FEC.gov – Contributions in the Name of
                 Another Are Strictly Prohibited
13
14               [JF_13934-13934]
          5      FEC.gov – Disgorged Contributions
15
16               [JF_13936-13937]
          6      FEC.gov – Handling Questionable
17
                 Contributions
18
                 [JF_14779-14780]
19
          7      FEC.gov – Filing Amendments
20
                 [JF_13939-13942]
21
          8      FEC.gov – Foreign Nationals
22
23               [JF_13943-13950]
          9      FEC.gov – Mission and History
24
25               [JF_14777]
          10     FEC.gov – Who Can and Can’t
26               Contribute
27
                 [JF_13953-13959]
28
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 1
      EXHIBIT                DESCRIPTION                     IDENT       IN EVID.
 2
          11     Summary Chart of Fortenberry FEC
 3
                 Filings (2016-2020)
 4
          12     Fortenberry FEC Form 3 Filing for 2016
 5
                 (April 15 Quarterly Report) (Excerpts)
 6
                 [JF_12617-12698]
 7
          13     INTENTIONALLY LEFT BLANK
 8
          14     INTENTIONALLY LEFT BLANK
 9
10        15     Fortenberry FEC Form 3 Filing for 2019
                 (October 15 Quarterly Report) (Excerpts)
11
12               [JF_10734-10810]
          16     Fortenberry FEC Form 3 Filing for 2019
13               (January 31 Year End Report) (Excerpts)
14
                 [JF_10811-10884]
15               Compare of FEC Form 3 Filings for 2018
          17
16               (Oct 15 Quarterly) (Excerpts)
          18     INTENTIONALLY LEFT BLANK
17
18        19     INTENTIONALLY LEFT BLANK
19               INTENTIONALLY LEFT BLANK
          20
20
                                 Fortenberry Official Acts
21
          21     Congress.gov – H. Con. Res. 75 Actions
22               Overview
23
                 [JF_14844]
24               H. Con. Res. 75 – 3/15/2016
          22
25
                 [JF_421-427]
26               Fortenberry Official Acts Timeline
          23
27
          24     INTENTIONALLY LEFT BLANK
28
                                               2
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 1
      EXHIBIT                DESCRIPTION                  IDENT          IN EVID.
 2
          25     INTENTIONALLY LEFT BLANK
 3
 4        26     INTENTIONALLY LEFT BLANK
 5               INTENTIONALLY LEFT BLANK
          27
 6               INTENTIONALLY LEFT BLANK
          28
 7
                                      Text Messages
 8
          29     Baaklini – Fortenberry Text Messages
 9               from 12/7/2014 – 1/5/2015 (Thread 1)
10        30     Baaklini – Fortenberry Text Messages
                 from 1/21/2015 – 2/23/2015 (Thread 2)
11
          31     Baaklini – Fortenberry Text Messages
12               from 6/10/2015 (Thread 3)
          32     Baaklini – Fortenberry Text Messages
13
                 from 11/17/2015 (Thread 4)
14        33     Baaklini – Fortenberry Text Messages
15               from 12/17/2015 – 3/3/2016 (Thread 5)
          34     Baaklini – Fortenberry Text Messages
16               from 6/14/2016 – 6/22/2016 (Thread 6)
17        35     Baaklini – Fortenberry Text Messages
                 from 6/27/2016 (Thread 7)
18        36     Baaklini – Fortenberry Text Messages
19               from 7/16/2016 – 9/3/2016 (Thread 8)
          37     Baaklini – Fortenberry Text Messages
20               from 3/2/2017 (Thread 9)
21        38     Baaklini – Fortenberry Text Messages
                 from 3/28/2017 (Thread 10)
22
          39     Baaklini – Fortenberry Text Messages
23               from 7/26/2017 (Thread 11)
24        40     Baaklini – Fortenberry Text Messages
                 from 10/26/2017 (Thread 12)
25        41     Baaklini – Fortenberry Text Messages
26               from 11/24/2017 (Thread 13)
          42     Baaklini – Fortenberry Text Messages
27               from 12/29/2017 – 1/1/2019 (Thread 14)
28
                                             3
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 1
      EXHIBIT                DESCRIPTION                  IDENT          IN EVID.
 2
          43     Baaklini – Fortenberry Text Messages
 3
                 from 6/4/2018
 4               (Thread 15)
          44     Baaklini – Fortenberry Text Messages
 5
                 from 12/26/2018 – 1/1/2019
 6               (Thread 16)
 7        45     Baaklini – Ayoub Text Messages from
                 1/20/2016 – 1/24/2016 (Thread 1)
 8        46     Baaklini – Ayoub Text Messages from
 9               6/3/2016 (Thread 2)
          47     Baaklini – Kendrick Text Messages from
10               1/29/2016 – 2/8/2016 (Thread 1)
11        48     Baaklini – Bowling Text Messages from
                 12/25/2014 – 2/15/2015 (Thread 1)
12        49     INTENTIONALLY LEFT BLANK
13
          50     Baaklini – Doran Text Messages from
14               3/28/2017 (Thread 1)
          51     Ayoub – Fortenberry Text Messages from
15
                 2/26/2016 – 2/27/2016 (Thread 1)
16        52     Ayoub – Fortenberry Text Messages from
17               12/25/2016 (Thread 2)
          53     Ayoub – Fortenberry Text Messages from
18               10/28/2017 – 10/29/2017 (Thread 3)
19        54     Ayoub – Fortenberry Text Messages from
                 3/19/2018 – 6/4/2018 (Thread 4)
20        55     Ayoub – Kendrick Text Messages from
21               from 2/17/2016 – 4/18/2016 (Thread 1)
          56     Ayoub – Bowling Text Messages from
22               2/26/2016 (Thread 1)
23
          57     Ayoub – Bowling Text Messages from
24
                 3/2/2016 – 3/15/2016 (Thread 2)
25
26        58     Ayoub – Chagoury Text Message from
                 8/16/2016 (Thread 1)
27
28        59     INTENTIONALLY LEFT BLANK
                                             4
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 1
      EXHIBIT                 DESCRIPTION                  IDENT         IN EVID.
 2
          60     Ayoub – Khourys Text Message from
 3
                 2/21/2016 (Thread 1)
 4
                                          Emails
 5
 6      2014

 7        61     6/10/2014 TB-GC Email re: Fwd: Fort on
                 Syrian Rebels
 8
 9               [JF_13314]
          62     7/25/2014 TB-GC Email re:
10               Congressman Fortenberry on Mosul
11               Watch Video
12               [JF_13267]
13        63     8/13/2014 EA-TB Email re: Fwd: IDC
                 Summit Sept. 9-11 2014 Washington DC
14
15               [JF_13331-13334]
          64     8/28/2014 EA-TB Email re: Fwd:
16               charbel200@yahoo.com has shared:
17               Interrogations en série sur le prochain
                 congrès de Washington pour protéger les
18
                 chrétiens d'Orient - Sandra NOUJEIM
19
                 [JF_13308-13309]
20
          65     9/17/2014 Michel Chagouri-EA (CC: TB,
21               GC) re: IDC Action Plan
22
                 [JF_13373-13374]
23      2015
24               6/8/2015 EA-TB Email re: Gilbert
          66
25
                 [JF_13236; JF_13546]
26               11/19-20/2015 AK-TB re: Fortenberry
          67
27
                 [JF_13445]
28
                                             5
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 1
      EXHIBIT                 DESCRIPTION                 IDENT          IN EVID.
 2
          68     12/2/2015 AK-TB (CC: DB) Email re:
 3
                 Fortenberry Event
 4
                 [JF_13282]
 5
          69     12/3/2015 AK-TB (CC: DB) Email re:
 6               Fortenberry Event
 7
                 [JF_13439]
 8      2016
 9               1/14/2016 JF -TB Email re: Year-End
          70
10               Report

11               [JF_3213-3216]
12        71     2/1/2016 AK-TB-EA (CC: DB) Email re:
                 Dr. Elie Ayoub
13
14               [JF_13434; JF_13271; JF_2395]
          72     2/4-8/2016 AK-EA-DB (CC: TB) Email
15               re: Fundraiser
16
                 [JF_13287-13288;
17               JF_2388-2390]
18               [JF 856-60]
          73     2/9/2016 AK-DB-EA-TB et al. Email re:
19
                 Fortenberry Event
20
                 [JF_13440-13443]
21
          74     2/8-17/2016 AK-DB-EA-TB et al Email
22               re: Fortenberry Event (unredacted)
23
                 [JF_2391-2392;
24               JF_13315-13317
25               JF_13450-13451]
          75     2/22/2016 AK-TB Email Re: Wow!!
26
27               [JF_2632]

28
                                             6
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 1
      EXHIBIT                 DESCRIPTION                  IDENT         IN EVID.
 2
          76     2/22/2016 AK-EA (CC: DB) Email re:
 3
                 Fortenberry Follow Up (unredacted)
 4
                 [JF 862-63]
 5
          77     3/2/2016 TB-GC Email re: IDC Applauds
 6               House Foreign Affairs Committee
 7
                 [JF_13327-13328]
 8               3/14/2016 TB-GC Email re: IDC Action
          78
 9               Alert

10               [JF_13322-13324]
11        79     3/21/2016 AK-TB re: NRCC Call

12               [JF_13408]
13        80     INTENTIONALLY LEFT BLANK
14               5/4/2016 TB-AK re: Tried to call you :)
          81
15
                 [JF_13529-13531]
16               5/7/2016 TB-EA (cc: GC) Email re:
          82
17               Gilbert

18               [JF_13365]
19        83     5/21/2016 TB-GC Email re: IDC
                 Applauds Congressional Support
20
21               [JF_13325-13326]
          84     6/7/2016 AK-TB Email re: NYC Event
22
23               [JF_13410]
          85     6/14/2016 TB-JF Email re Note from Dr.
24
                 for Father Ramsine
25
                 [JF_13338]
26
27
28
                                              7
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 1
      EXHIBIT                DESCRIPTION                   IDENT         IN EVID.
 2
          86      6/14/2016 TB-JF Email re: Fwd: Urgente
 3
                  Grazie Father Ramsine Docs
 4
                  [JF_13357-13358]
 5
          87      6/14/2016 TB-JF re Urgente Grazie Fw:
 6                Father Ramsine Documents
 7
                  [JF_13533]
 8                6/24/2016 TB-JF Email re: Fwd: From
          88
 9                Congressman Fortenberry

10                [JF_13321]
11        89      7/22/2016 EA to Drew Bowling Email re:
                  Omaha (unredacted version)
12
13                [JF 873]
          90      7/30/2016 EA-TB Email re: Omaha,
14                Diana (unredacted version)
15
                  [JF_875]
16                7/30/2016 EA to JF Email re: Omaha
          91
17                (unredacted version)
18                [JF_874]
19        92      INTENTIONALLY LEFT BLANK
20                8/24/2016 JF-TB Email re Tailgate
          93
21                (unredacted version)
22                [JF_3217]
23        94      8/28/2016 TB-JF Email with photos
24                [JF_13237-13240]
25        95      8/29/2016 JF-TB Email re Great to Be
                  With You!
26
27                [JF_13366-13367]
28
                                              8
     Case 2:21-cr-00491-SB Document 158 Filed 03/15/22 Page 11 of 27 Page ID #:2308




 1
      EXHIBIT                 DESCRIPTION                    IDENT       IN EVID.
 2
          96      8/29/2016 JF-TB Email re Roma
 3
 4                [JF_13551-13552]
          97      8/29/2016 TB-JF Email
 5
 6                [JF_13350; JF_13570; JF_13566]
 7        98      9/22/2016 AK-TB Email re: Rep.
                  Fortenberry
 8
 9                [JF_2661]
         2017
10
          99      2/8/2017 JF-TB Email re: Fwd: St.
11                Charbel Miracle
12
                  [JF_13526-13528]
13                8/18/2017 JF-TB Email re: Fwd: Trip to
          100
14                Rome and Presentation of art Work to the
                  Pope
15
16                [JF_13352-13353]
          101     9/8/2017 JF-TB Email re: US
17
                  Ambassador to UN Missions in Rome
18
                 [JF_13559]
19
         2018-2019
20
          102     4/17/2018 JF-Luke Wenz Email re: “Mid-
21                Day Campaign Update”
22
                  [JF_2545-2546]
23                7/19/2019 Trey Gowdy to AUSA Jenkins
          103
24                email re: Mid-Day Campaign Update

25                [JF_2544]
26        104     INTENTIONALLY LEFT BLANK
27                INTENTIONALLY LEFT BLANK
          105
28
                                               9
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 1
      EXHIBIT                  DESCRIPTION                  IDENT        IN EVID.
 2
          106      INTENTIONALLY LEFT BLANK
 3
 4        107      INTENTIONALLY LEFT BLANK
 5                 INTENTIONALLY LEFT BLANK
          108
 6                 INTENTIONALLY LEFT BLANK
          109
 7
          110      INTENTIONALLY LEFT BLANK
 8
                                  Recordings and Transcripts
 9
10    IDC Dinner

11        111      2018 IDC Dinner Excerpt

12                [JFAV_71]
13    April 2018 Call
14        112      4/9/2018 Call Between Individual H and
                   Fortenberry
15
16                 [JFAV_33]
         112T      4/9/2018 Call Transcript
17
18    June 2018 Call

19        113      6/4/2018 Call Between Individual H and
                   Fortenberry
20
21                 [JFAV_35]
         113T      6/4/2018 Call Transcript
22
23    Nebraska Interview

24        114      Nebraska Fortenberry Interview –
                   3/23/2019 (FULL)
25
26                 [JFAV_37-38]
          115      Nebraska Fortenberry Interview –
27                 3/23/2019 (Clip 1)
28
                                               10
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 1
      EXHIBIT                 DESCRIPTION                 IDENT          IN EVID.
 2
         115T     Clip 1 Transcript
 3
 4        116     Nebraska Fortenberry Interview –
                  3/23/2019 (Clip 2)
 5                Clip 2 Transcript
         116T
 6
          117     Nebraska Fortenberry Interview –
 7                3/23/2019 (Clip 3)
 8       117T     Clip 3 Transcript

 9        118     Nebraska Fortenberry Interview –
10                3/23/2019 (Clip 4)
         118T     Clip 4 Transcript
11
          119     Nebraska Fortenberry Interview –
12
                  3/23/2019 (Clip 5)
13       119T     Clip 5 Transcript
14                Nebraska Fortenberry Interview –
          120
15                3/23/2019 (Clip 6)
         120T     Clip 6 Transcript
16
17        121     Nebraska Fortenberry Interview –
                  3/23/2019 (Clip 7)
18                Clip 7 Transcript
         121T
19
          122     Nebraska Fortenberry Interview –
20                3/23/2019 (Clip 8)
21       122T     Clip 8 Transcript

22        123     Nebraska Fortenberry Interview –
                  3/23/2019 (Clip 9)
23
         123T     Clip 9 Transcript
24
          124     Nebraska Fortenberry Interview –
25                3/23/2019 (Clip 10)
26       124T     Clip 10 Transcript
27                Nebraska Fortenberry Interview –
          125
28                3/23/2019 (Clip 11)
                                              11
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 1
      EXHIBIT                 DESCRIPTION                  IDENT         IN EVID.
 2
         125T     Clip 11 Transcript
 3
 4        126     Nebraska Fortenberry Interview –
                  3/23/2019 (Clip 12)
 5                Clip 12 Transcript
         126T
 6
          127     Nebraska Fortenberry Interview –
 7                3/23/2019 (Clip 13)
 8       127T     Clip 13 Transcript

 9        128     Nebraska Fortenberry Interview –
10                3/23/2019 (Clip 14)
         128T     Clip 14 Transcript
11
          129     Nebraska Fortenberry Interview –
12
                  3/23/2019 (Clip 15)
13       129T     Clip 15 Transcript
14                Nebraska Fortenberry Interview –
          130
15                3/23/2019 (Clip 16)
         130T     Clip 16 Transcript
16
17        131     Nebraska Fortenberry Interview –
                  3/23/2019 (Clip 17)
18                Clip 17 Transcript
         131T
19
          132     Nebraska Fortenberry Interview –
20                3/23/2019 (Clip 18)
21       132T     Clip 18 Transcript

22    Washington D.C. Interview
23                D.C. Fortenberry Interview – 7/18/2019
          133
24                (FULL)

25                [JFAV_39-40]
26        134     D.C. Fortenberry Interview – 7/18/2019
                  (Clip 1)
27                Clip 1 Transcript
         134T
28
                                              12
     Case 2:21-cr-00491-SB Document 158 Filed 03/15/22 Page 15 of 27 Page ID #:2312




 1
      EXHIBIT                DESCRIPTION                   IDENT         IN EVID.
 2
          135     D.C. Fortenberry Interview – 7/18/2019
 3
                  (Clip 2)
 4       135T     Clip 2 Transcript
 5                D.C. Fortenberry Interview – 7/18/2019
          136
 6                (Clip 3)
         136T     Clip 3 Transcript
 7
 8        137     D.C. Fortenberry Interview – 7/18/2019
                  (Clip 4)
 9                Clip 4 Transcript
         137T
10
          138     D.C. Fortenberry Interview – 7/18/2019
11                (Clip 5)
12       138T     Clip 5 Transcript

13        139     D.C. Fortenberry Interview – 7/18/2019
                  (Clip 6)
14
         139T     Clip 6 Transcript
15
          140     D.C. Fortenberry Interview – 7/18/2019
16                (Clip 7)
17       140T     Clip 7 Transcript
18                D.C. Fortenberry Interview – 7/18/2019
          141
19                (Clip 8)
         141T     Clip 8 Transcript
20
21        142     D.C. Fortenberry Interview – 7/18/2019
                  (Clip 9)
22                Clip 9 Transcript
         142T
23
          143     D.C. Fortenberry Interview – 7/18/2019
24                (Clip 10)
25       143T     Clip 10 Transcript

26        144     D.C. Fortenberry Interview – 7/18/2019
                  (Clip 11)
27
         144T     Clip 11 Transcript
28
                                              13
     Case 2:21-cr-00491-SB Document 158 Filed 03/15/22 Page 16 of 27 Page ID #:2313




 1
      EXHIBIT                DESCRIPTION                   IDENT         IN EVID.
 2
          145     D.C. Fortenberry Interview – 7/18/2019
 3
                  (Clip 12)
 4       145T     Clip 12 Transcript
 5                D.C. Fortenberry Interview – 7/18/2019
          146
 6                (Clip 13)
         146T     Clip 13 Transcript
 7
 8        147     D.C. Fortenberry Interview – 7/18/2019
                  (Clip 14)
 9                Clip 14 Transcript
         147T
10
          148     D.C. Fortenberry Interview – 7/18/2019
11                (Clip 15)
12       148T     Clip 15 Transcript

13        149     D.C. Fortenberry Interview – 7/18/2019
                  (Clip 16)
14
         149T     Clip 16 Transcript
15
          150     D.C. Fortenberry Interview – 7/18/2019
16                (Clip 17)
17       150T     Clip 17 Transcript
18                D.C. Fortenberry Interview – 7/18/2019
          151
19                (Clip 18)
         151T     Clip 18 Transcript
20
21        152     D.C. Fortenberry Interview – 7/18/2019
                  (Clip 19)
22                Clip 19 Transcript
         152T
23
          153     D.C. Fortenberry Interview – 7/18/2019
24                (Clip 20)
25       153T     Clip 20 Transcript

26        154     D.C. Fortenberry Interview – 7/18/2019
                  (Clip 21)
27
         154T     Clip 21 Transcript
28
                                              14
     Case 2:21-cr-00491-SB Document 158 Filed 03/15/22 Page 17 of 27 Page ID #:2314




 1
      EXHIBIT                 DESCRIPTION                  IDENT         IN EVID.
 2
          155     D.C. Fortenberry Interview – 7/18/2019
 3
                  (Clip 22)
 4       155T     Clip 22 Transcript
 5                D.C. Fortenberry Interview – 7/18/2019
          156
 6                (Clip 23)
         156T     Clip 23 Transcript
 7
 8        157     D.C. Fortenberry Interview – 7/18/2019
                  (Clip 24)
 9                Clip 24 Transcript
         157T
10
          158     D.C. Fortenberry Interview – 7/18/2019
11                (Clip 25)
12       158T     Clip 25 Transcript

13        159     D.C. Fortenberry Interview – 7/18/2019
                  (Clip 26)
14
         159T     Clip 26 Transcript
15
          160     D.C. Fortenberry Interview – 7/18/2019
16                (Clip 27)
17       160T     Clip 27 Transcript
18                D.C. Fortenberry Interview – 7/18/2019
          161
19                (Clip 28)
20                Clip 28 Transcript
         161T
21
          162     D.C. Fortenberry Interview – 7/18/2019
22                (Clip 29)
23
         162T     Clip 29 Transcript
24
25        163     INTENTIONALLY LEFT BLANK

26        164     INTENTIONALLY LEFT BLANK
27                INTENTIONALLY LEFT BLANK
          165
28
                                              15
     Case 2:21-cr-00491-SB Document 158 Filed 03/15/22 Page 18 of 27 Page ID #:2315




 1
      EXHIBIT                  DESCRIPTION                IDENT          IN EVID.
 2
          166     INTENTIONALLY LEFT BLANK
 3
 4        167     INTENTIONALLY LEFT BLANK
 5                INTENTIONALLY LEFT BLANK
          168
 6                INTENTIONALLY LEFT BLANK
          169
 7
          170     INTENTIONALLY LEFT BLANK
 8
                                         Photographs
 9
10        171     Elias Ayoub Photo 1

11                [JF_14845]
12        172     Toufic Baaklini Photo 1

13                [JF_2625]
14        173     Toufic Baaklini Photo 2
15                [JF_14848]
16        174     Drew Bowling Photo 1
17                [JF_14849]
18        175     Gilbert Chagoury Photo 1
19
                  [JF_2631]
20        176     Gilbert Chagoury Photo 2
21
                  [JF_14850]
22                Gilbert Chagoury Photo 3
          177
23
                  [JF_14852]
24                Jeff Fortenberry Photo 1
          178
25
                  [JF_14854]
26                Jeff Fortenberry Photo 2
          179
27
                  [JF_14855]
28
                                             16
     Case 2:21-cr-00491-SB Document 158 Filed 03/15/22 Page 19 of 27 Page ID #:2316




 1
      EXHIBIT                 DESCRIPTION                   IDENT        IN EVID.
 2
          180     Trey Gowdy Photo 1
 3
 4                [JF_14856]
          181     Jessica Johnson Photo 1
 5
 6                [JF_14857]
 7        182     Alexandra Kendrick Photo 1

 8                [JF_14858]
 9        183     Fortenberry White House Photo

10                [JF_14859]
11        184     Fortenberry-Baaklini Award Photo
12                [JF_14863]
13        185     Fortenberry-Baaklini Selfie Photo
14                [JF_14864]
15        186     Baaklini-Chagoury Photo 1
16
                  [JF_14860]
17        187     Baaklini-Chagoury Photo 2
18
                  [JF_14862]
19                Andrew Doran Photo 1
          188
20                INTENTIONALLY LEFT BLANK
          189
21
          190     INTENTIONALLY LEFT BLANK
22
                                            Documents
23
24        191     Summary Chart of Baaklini-Fortenberry
                  Contacts (2016-2018)
25
26        192     Summary Chart of Los Angeles
                  Fundraiser Donors
27                Fundraiser Invitation/Contribution Form
          193
28                [JF_2637]
                                               17
     Case 2:21-cr-00491-SB Document 158 Filed 03/15/22 Page 20 of 27 Page ID #:2317




 1
      EXHIBIT                 DESCRIPTION                    IDENT       IN EVID.
 2
          194     2/17/2016 Congressman Jeff Fortenberry
 3
                  – Fundraising Brief
 4
                  [JF_2639-2641]
 5
          195     Op. Titan’s Grip Link Chart (February
 6                2017)
 7        196     INTENTIONALLY LEFT BLANK

 8        197     INTENTIONALLY LEFT BLANK
 9                INTENTIONALLY LEFT BLANK
          198
10
          199     INTENTIONALLY LEFT BLANK
11
          200     INTENTIONALLY LEFT BLANK
12
13                  302 Reports, Interview Transcripts, and Agreements

14        201     Baaklini DPA – 3/31/2021
15                [JF_11294-11317]
16        202     Baaklini 302 Report of Interview –
                  2/21/2017
17
18                [JF_1220-1342]
          203     Baaklini 302 Report of Interview #2–
19
                  2/21/2017
20
                  [JF_1343-1346]
21
          204     Baaklini 302 Report of Interview -
22                10/30/2019
23
                  [JF_2642-2643]
24                Baaklini 10/30/2019 Interview Transcript
          205
25
                  [JF_12774-13005]
26                Baaklini 302 Report of Interview -
          206
27                10/19/2020 Interview

28                [JF_10684-10685]
                                               18
     Case 2:21-cr-00491-SB Document 158 Filed 03/15/22 Page 21 of 27 Page ID #:2318




 1
      EXHIBIT                 DESCRIPTION                   IDENT        IN EVID.
 2
          207     Baaklini 302 Report of Interview –
 3
                  12/16/2021
 4
                  [JF_13980-13982]
 5
          208     Baaklini 302 Report of Interview –
 6                1/21/2022
 7
                  [JF_15304-15306]
 8                INTENTIONALLY LEFT BLANK
          209
 9
          210     INTENTIONALLY LEFT BLANK
10
          211     INTENTIONALLY LEFT BLANK
11
12        212     Kendrick 302 Report of Interview –
                  10/29/2019
13
14                [JF_2615-2616]
          213     Kendrick 10/29/2019 Interview
15                Transcript
16
                  [JF_13151-13219]
17                Kendrick 302 Report of Interview –
          214
18                12/9/2021
19                [JF_13967-13970]
20        215     Kendrick 12/9/2021 Interview Transcript
                  (draft)
21
22                [JF_14102-14138]
          216     Kendrick 302 Report of Interview –
23                1/6/2022
24
                  [JF_13993-13997]
25
          217     INTENTIONALLY LEFT BLANK
26
          218     INTENTIONALLY LEFT BLANK
27
28
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     Case 2:21-cr-00491-SB Document 158 Filed 03/15/22 Page 22 of 27 Page ID #:2319




 1
      EXHIBIT                  DESCRIPTION                  IDENT        IN EVID.
 2
          219     Ayoub Resume/CV
 3
 4                [JF_739-741]
          220     Ayoub Proffer Letter (9/8/2016)
 5
 6                [JF_13964-13966]
 7        221     Ayoub Letter Agreement (2/21/2019)

 8                [JF_12772-12773]
 9        222     Ayoub 302 Report of Interview –
                  8/15/2016
10
11                [JF_274-276]
          223     Ayoub Source Report – 9/08/2016
12
13                [JF_727-732]
          224     Ayoub Source Report– 11/9/2016
14
15                [JF_926-930]
          225     Ayoub 302 Report of Interview –
16
                  2/20/2018
17
                  [JF_2284-2287]
18
          226     Ayoub 302 Report of Interview –
19                2/19/2019
20
                  [JF_2372-2376]
21                Ayoub Grand Jury Transcript – 2/21/2019
          227
22
                  [JF_15005-15098]
23                Ayoub 302 Report of Interview –
          228
24                12/15/2021

25                [JF_13989-13990]
26        229     Ayoub 302 Report of Interview –
                  1/12/2022
27
28                [JF_15307]
                                              20
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 1
      EXHIBIT                DESCRIPTION                   IDENT         IN EVID.
 2
          230     Ayoub 302 Report of Interview –
 3
                  2/2/2022
 4
                  [JF_15286-15298]
 5
          231     Ayoub 302 Report of Interview –
 6                2/16/2022
 7
                  [JF_15269-15285]
 8                INTENTIONALLY LEFT BLANK
          232
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          233     INTENTIONALLY LEFT BLANK
10
          234     INTENTIONALLY LEFT BLANK
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12        235     INTENTIONALLY LEFT BLANK

13        236     Johnson 302 Report of Interview –
                  8/19/2019
14
15                [JF_2581-2582]
          237     Johnson 8/19/2019 Interview Transcript
16
                  (draft)
17
                  [JF_11534-11570]
18
          238     Johnson 302 Report of Interview –
19                12/14/2021
20
                  [JF_13978-13979]
21                Johnson 302 Report of Interview –
          239
22                3/2/2022

23                [JF_15301-1503]
24        240     INTENTIONALLY LEFT BLANK
25                Choe Grand Jury Transcript 1 –
          241
26                2/14/2019

27                [JF_14871-14925]
28
                                              21
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 1
      EXHIBIT                 DESCRIPTION                 IDENT          IN EVID.
 2
          242     Choe Grand Jury Transcript 2 –
 3
                  10/19/2021
 4
                  [JF_14926-15004]
 5
          243     Choe S/W Affidavit – 2/5/2020
 6
                  [JF_3301-3321]
 7
          244     INTENTIONALLY LEFT BLANK
 8
          245     INTENTIONALLY LEFT BLANK
 9
10        246     INTENTIONALLY LEFT BLANK
11                Carter S/W Affidavit – 10/3/2017
          247
12
                  [JF_2129-2190]
13                Carter 302 Report of Interview –
          248
14                3/7/2022

15                [JF_15309-15310]
16        249     INTENTIONALLY LEFT BLANK

17                INTENTIONALLY LEFT BLANK
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18                INTENTIONALLY LEFT BLANK
          251
19
          252     O’Leary 302 Report of Interview –
20                2/24/2022 and 2/28/2022
21
                  [JF_15299-15300]
22                Arsan DPA – 3/31/2021
          253
23
                  [JF_11270-11293
24                INTENTIONALLY LEFT BLANK
          254
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          255     INTENTIONALLY LEFT BLANK
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 1
      EXHIBIT                  DESCRIPTION                  IDENT        IN EVID.
 2
          256     Archer 302 Report of Interview –
 3
                  8/20/2019
 4
                  [JF_2567]
 5
          257     Archer 8/20/2019 Interview Transcript
 6                (draft)
 7
                  [JF_11361-1387]
 8                INTENTIONALLY LEFT BLANK
          258
 9
          259     INTENTIONALLY LEFT BLANK
10
          260     INTENTIONALLY LEFT BLANK
11
12                                           Misc.

13        261     “Cocktails in LA with a Terrorist?” –
                  3/26/2010 The Enterprise Report
14                (unredacted version)
15
                  [JF_1625-1628]
16                “US Apologizes to Billionaire Added to
          262
17                Terror No-Fly List” – 5/21/2010 ABC
                  News
18
19                [JF_227-230]
          263     “Did Clinton Foundation Donor Get
20                Hillary to Delay Boko Haram Terror
21                Designation?” – 5/6/2015 Judicial Watch
22                [JF_34-36]
23        264     “Clinton Foundation Donors Have a
                  Bribery Problem” – Washington
24                Examiner – 6/10/2015
25
                  [JF_84-88]
26
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     Case 2:21-cr-00491-SB Document 158 Filed 03/15/22 Page 26 of 27 Page ID #:2323




 1
      EXHIBIT                DESCRIPTION                   IDENT         IN EVID.
 2
          265     “Hillary Clinton’s Nigeria Record Once
 3
                  Again in the Spotlight” – 7/20/2015
 4                Washington Examiner
 5
                  [JF_37-40]
 6        266     “Bill, Hillary, Mr Chagoury and
                  Hezbollah” – August 2016 New English
 7
                  Review
 8
 9                [JF_337-345]
          267     “Five Devastating Facts About Hillary
10                Clinton’s Foreign Funder, Gilbert
11                Chagoury” – 8/11/2016 Breitbart

12                [JF_11240-11243]
13        268     “Who Is Clinton Foundation Donor
                  Billionaire Gilbert Chagoury” –
14                8/15/2016 The Epoch Times
15
                  [JF_332-335]
16                “Foundation Ties Bedevil Hillary
          269
17                Clinton’s Presidential Campaign” –
                  8/23/2016 New York Times
18
19                [JF_352-354]
          270     “He Was a Billionaire Who Donated to
20                the Clinton Foundation. Last Year, He
21                Was Denied Entry into the US” –
                  8/26/2016 LA Times
22
23                [JF_384-386]
          271     “Clinton Foundation Donor Denied Entry
24
                  to US on Terrorism Claims” – 8/28/2016
25                New York Post
26
                  [JF_381-382]
27
28
                                              24
     Case 2:21-cr-00491-SB Document 158 Filed 03/15/22 Page 27 of 27 Page ID #:2324




 1
      EXHIBIT                DESCRIPTION                    IDENT        IN EVID.
 2
          272     “Top Clinton Foundation Donor Who
 3
                  Was Denied Entry into the U.S. Fires
 4                Back With a Lawsuit – 9/15/2016 LA
                  Times
 5
 6                [JF_452-453]
          273     “Clinton Foundation Donor Who Was
 7
                  Denied a Visa Settles Leak Case Against
 8                the U.S.” – 7/28/2017 LA Times
 9
                  [JF_1799-1801]
10                INTENTIONALLY LEFT BLANK
          274
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          275     INTENTIONALLY LEFT BLANK
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